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 7
                            IN THE UNITED STATES DISTRICT COURT
 8                        FOR THE WESTERN DISTRICT OF WASHINGTON
                                        AT SEATTLE
 9
     DAVID GOGGINS, GOGGINS BUILT NOT
10   BORN, LLC, and GOGGINS, LLC,                    Case No.

11                         Plaintiffs,               COMPLAINT
            v.                                       JURY DEMAND
12

13   AMAZON.COM, INC.,

14                         Defendant.
15

16          Plaintiff David Goggins (“Goggins”), Goggins Built Not Born, LLC (“GBNB”), and

17   Goggins, LLC (collectively with Goggins and GBNB, “Plaintiffs”) hereby state this Complaint

18   against Defendant Amazon.com, Inc. (“Amazon” or “Defendant”) as follows:

19                                          INTRODUCTION

20          1.     Goggins is a world-renowned athlete, author, and speaker known for his rise from

21   childhood poverty and abuse to U.S. Navy SEAL to world-class endurance athlete to author and

22   motivational speaker. His extraordinary story, including superhuman feats of physical endurance

23   have been viewed hundreds of millions of times by fans and followers throughout the world.

24   Goggins’ best-selling books, Can’t Hurt Me: Master Your Mind and Defy the Odds (“Can’t Hurt

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 1   Me”) and Never Finished: Unshackle Your Mind and Win the War Within (“Never Finished” and

 2   collectively with Can’t Hurt Me, the “Books”) have sold approximately seven (7) million copies.

 3          2.      Goggins has developed an impeccable reputation and loyal following thanks to his

 4   powerful and inspiring messages of discipline and self-belief. As a result, countless individuals

 5   across the globe credit Goggins and his Books as fueling positive and meaningful transformation in

 6   their own lives.

 7          3.      Goggins self-published Can’t Hurt Me. The book’s popularity has made Goggins

 8   one of the most successful self-published authors of all time.

 9          4.      Amazon operates websites, including Amazon.com, that sell books and other

10   products. Amazon proclaims it provides the “world’s most trustworthy shopping experience.”

11   Amazon publicly touts that it has advanced technology to remove inauthentic and counterfeit

12   products, claiming it “strictly prohibits the sale of counterfeit products.” Amazon claims it

13   “investigate[s] every claim of potential counterfeit thoroughly.” These and other claims leave

14   authors, sellers, and the consuming public with the impression that Amazon.com does not allow

15   and is free from the sale of fake, bootleg, counterfeit, or otherwise inauthentic books and products.

16   As used herein, the term “bootleg” refers to inauthentic, fake, counterfeit, or otherwise

17   unauthorized products.

18          5.      Goggins began selling his book Can’t Hurt Me on Amazon’s websites. New,

19   unsigned, hard-cover copies of Can’t Hurt Me were sold on Amazon.com, Amazon.ca, and

20   Amazon.co.uk, and now only Amazon.com, through the Amazon Advantage program. While

21   Goggins sold signed hard-covers via his Shopify site and in a small New Jersey bookstore for a

22   short period, no party other than Amazon, through its subsidiary Amazon Fulfillment Services,

23   Inc., has had a right to sell new copies of that hardcopy book on the Amazon marketplaces, or any

24   other website or marketplace.

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 1          6.      Amazon was in the unique position of (1) knowing that the only company with the

 2   right to sell new, hardcopy Can’t Hurt Me books was its own subsidiary, and (2) controlling the

 3   websites, marketplace, and sellers offering the title. Because it controlled both the sale and website

 4   offerings, Amazon had knowledge that any hardcover book not sold by Amazon itself was not

 5   legitimate.

 6          7.      Despite Amazon’s unique knowledge and control, Amazon repeatedly sold bootleg:

 7   (1) summaries of the Books using Goggins’ images; (2) full versions of the Books; (3) Goggins

 8   biographies using Goggins’ images; and (4) consumer products using Plaintiffs’ intellectual

 9   property via Amazon.com and other Amazon marketplaces. Each of these bootleg sales unjustly

10   stole revenue from Goggins. Amazon, however, received revenue from each sale, just as if

11   Goggins’ authentic products had been sold.

12          8.      In June of 2019, Goggins’ representatives informed Amazon of certain bootleg

13   copies of Can’t Hurt Me being sold on Amazon’s marketplace. Amazon allowed the books to

14   remain on its marketplace, claiming “third party sellers can list your book for sale” and that

15   Amazon does “not control certain aspects of their Amazon product listing, including price,

16   shipping, condition and delivery items.” These statements were deceptive or had the capacity to

17   deceive because Amazon, in fact, has full control over third party sales by virtue of its power to

18   remove sellers or product listings at any time, but simply chooses not to.

19          9.      Indeed, Amazon has rapidly restricted bootlegs when it suits Amazon’s interests.

20   For example, in 2019, Adam Scolnick, an independent reporter and collaborator with Goggins on

21   Can’t Hurt Me, contacted Amazon about doing a story related to the bootleg versions of Can’t Hurt

22   Me and other books. When Amazon’s own public image was at risk, Amazon acted. In a July 25,

23   2019 email, Amazon claimed it added “qualifications” to sell paperback copies of Can’t Hurt Me.

24   Amazon’s ability to further scrutinize who could and could not sell shows Amazon controls the

25   products offered on its websites.



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 1          10.     Amazon’s restrictions on bootleg versions of the Books, however, did not last.

 2   Bootleg versions once again proliferated Amazon’s websites, causing consumers to believe

 3   Goggins was selling low quality, pages-missing, wrong-dimension books.

 4          11.     Goggins and his team pleaded with Amazon to remove the bootleg versions of the

 5   Books. Goggins and his representatives sent Amazon hundreds of follow up messages informing

 6   Amazon of the continuing infringement, but received insignificant assistance in removing the

 7   bootleg Books. Despite Amazon’s full knowledge of these bootleg book sales, Amazon continued

 8   to allow them on its websites and marketplaces. Amazon did not care. It continued to make money

 9   from each bootleg item sold.

10          12.     On multiple occasions, third parties have unwittingly asked Goggins to sign bootleg

11   versions of his Books. As an example, in September of 2023, Goggins performed a book signing of

12   125 copies of Can’t Hurt Me that Goggins’ client had ordered from Amazon.com. When Goggins

13   opened the books to sign them, he discovered that Amazon had sold and delivered bootleg books.

14   This greatly embarrassed Goggins in front of his fans and client. Nevertheless, not wanting to

15   disappoint the 125 people waiting in line to get a signed copy, Goggins endured the humiliating

16   task of signing and posing for photographs with bootleg versions of his book Can’t Hurt Me.

17          13.     To investigate the extent of the bootleg problem, Goggins ordered multiple copies

18   of Can’t Hurt Me from Amazon’s websites. Thirteen copies in that round of test purchases were

19   bootlegs. The bootleg versions Amazon sold suffered from obvious defects, including smaller book

20   size, cut-off photos, poor paper quality, inferior binding, and thickness differences, among others.

21          14.     In September of 2023, with the bootleg issue intensifying, Goggins’ representative

22   informed Amazon, “I don’t know how many times I can keep reaching out to people at Amazon

23   with little to no help in changing how they manage our book.” Before Amazon would act against

24   bootleg book listings, Plaintiffs were required to personally identify and purchase bootlegged

25   copies of the Books. Amazon’s websites were inundated with bootleg versions of Can’t Hurt Me.



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 1   Bootleggers were able to create a foothold on the marketplace because of Amazon’s lax

 2   enforcement, making this approach expensive, unrealistic, and unsustainable for Goggins, or for

 3   any other author.

 4          15.     Amazon’s failure to remove the bootleg versions of the Books, while touting that it

 5   was a trustworthy marketplace to consumers, damaged Goggins’ reputation, and damaged

 6   Plaintiffs financially. Consumers, believing Amazon’s claims that it was trustworthy and that it did

 7   not sell counterfeits, thought Goggins was selling inferior-quality books. On multiple occasions,

 8   customers provided negative feedback on Amazon.com, mistakenly believing they had purchased

 9   poor-quality books from Goggins. Amazon allowed and maintained the comments online at its

10   websites.

11          16.     After informing Amazon that “we can only beg for help for so long,” Goggins’

12   representative informed Amazon that he would make the issue public. On October 5, 2023,

13   Goggins, who has over 11 million Instagram followers, posted a message on his Instagram feed

14   informing his followers of a systemic issue at Amazon whereby it was allowing bootleg copies of

15   his books to be sold on Amazon.com. The post generated over 6.2 million views, 300,000 likes and

16   more than 5,000 comments, many of which expressed shock and disbelief that Amazon would

17   allow bootleg sales of Goggins’ Books on its platforms.

18          17.     Amazon, with its self-interest in mind and reputation at stake, showed again that it

19   had the ability to control and prevent the sale of bootleg versions of the Books when it wanted to.

20   Within days of Goggins’ Instagram post, Amazon called Goggins’ representatives and foreign

21   rights literary agent, reflecting Amazon knew how to reach Goggins all along. It then shut down

22   bootleg sales of the Books on its websites by limiting sales of the Books to authorized sellers,

23   namely Amazon.com. Amazon could have prevented the listing, sale, and distribution of bootlegs

24   at any time. Only after Goggins’ post exposed Amazon to public scrutiny did it decide to. But the

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 1   harm was already done. Amazon’s sustained failure to timely take similar action damaged

 2   Plaintiffs.

 3           18.    Because Amazon controls its websites, it controls when the bootleg versions of the

 4   Books can be sold, when the sales can be stopped, and when they can be resumed. Amazon’s

 5   ability to allow bootleg books on its websites by simply altering its own restrictions places

 6   Goggins, and other authors, in an untenable position. Amazon’s conduct creates a risk of

 7   continuing reputational and financial harm that requires constant policing of Amazon’s websites.

 8   Each violation is another instance of harm to Plaintiffs.

 9           19.    This action arises from Defendant’s false narrative that it offers the world’s most

10   trustworthy shopping experience and strictly prohibits counterfeits while privately engaging in a

11   pattern of failing to and refusing to take action to prevent the unauthorized sale of bootleg

12   products. Despite significant efforts by Goggins in identifying bootleg versions of the Books and

13   reporting them to Amazon, Defendant failed to take sufficient steps to ensure that it sells

14   consumers (e.g., Goggins’ community of followers and potential customers) genuine, authentic

15   products.

16           20.    Defendant’s unabated proliferation of bootleg copies of Goggins’ Books while

17   touting itself as trustworthy (thus putting the blame on Goggins) has resulted in damage to

18   Goggins’ goodwill and reputation, has forced Goggins to spend hundreds of thousands of dollars to

19   enforce against bootleg versions sold on Amazon’s website, and has allowed consumers to believe

20   that they were purchasing the authentic versions of Goggins’ Books, when in fact Amazon

21   promoted and sold bootleg versions. Amazon used its market power to protect its reputation.

22   Amazon continued to profit from the sale of both the authentic version of the Books and, more

23   importantly, the bootleg versions, content to let consumers incorrectly and unjustly blame

24   Goggins, instead of Amazon, for the poor quality bootleg versions of the Books they received.

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 1          21.      This is an action for infringement of personality rights in violation of Washington’s

 2   Personality Rights Act (“PRA,” RCW § 63.010 et seq.); false advertising under the Lanham Act

 3   (15 U.S.C. § 1051 et seq.); copyright infringement under the Copyright Act (17 U.S.C. § 101 et

 4   seq.); violation of the Washington Consumer Protection Act (RCW 19.86.010 et seq.); common

 5   law claims of false advertising, tortious interference with a contractual relationship or business

 6   expectancy, and unjust enrichment; and for substantial and related claims under the statutory and

 7   common laws of the State of Washington.

 8                                              THE PARTIES

 9          22.      David Goggins is an individual who resides in Las Vegas, Nevada.

10          23.      Goggins Built Not Born, LLC is a Delaware Limited Liability Company with a

11   principal place of business in Nevada.

12          24.      Goggins, LLC is a Delaware Limited Liability Company with a principal place of

13   business in Nevada.

14          25.      Amazon.com, Inc. is a Delaware Corporation with its principal executive offices at

15   410 Terry Avenue North, Seattle, Washington 98109-5210.

16                                     JURISDICTION AND VENUE

17          26.      This Court has jurisdiction over the subject matter of this action pursuant to 28

18   U.S.C. § 1332 as Plaintiffs and Amazon have diversity of citizenship and the sum or value of the

19   controversy exceeds $75,000, exclusive of interest and costs.

20          27.      The Court has jurisdiction over the subject matter of this action pursuant to 28

21   U.S.C. § 1331 as the claims of Plaintiffs arise under the laws of the United States, namely under

22   the Copyright Act (17 U.S.C. § 101 et seq.) and the Lanham Act (15 U.S.C. § 1051 et seq.). The

23   Court further has supplemental jurisdiction over Plaintiffs’ remaining claims as the claims are so

24   related to claims brought under 28 U.S.C. § 1331 that they form part of the same case or

25   controversy.



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 1           28.     Venue in this District is proper pursuant to 28 U.S.C. § 1391(b)(1) as Amazon

 2   resides in this District.

 3           29.     This Court has general personal jurisdiction over Amazon consistent with the

 4   principles of due process. The Court has general personal jurisdiction over Amazon, a corporate

 5   defendant, because Amazon is fairly regarded as at home in this State because its principal place of

 6   business is in this State.

 7                          DAVID GOGGINS’ HISTORY AND REPUTATION

 8           30.     Goggins is an awe-inspiring individual whose life story is a lesson in overcoming

 9   hardship and adversity to achieve greatness. Goggins endured a brutal upbringing that easily could

10   have relegated him to a life of depression and meaninglessness. Instead, he used his suffering as a

11   catalyst to grow and adapt.

12           31.     Goggins is a Retired Navy SEAL and the only member of the U.S. Armed Forces to

13   complete SEAL training, Army Ranger School, and Air Force Tactical Air Controller training.

14   Since honorably retiring from the military in 2015, Goggins has worked for the US Forest Service

15   as a Wildland Firefighter and for the last two years as a Smokejumper in British Columbia.

16   Goggins has also pursued his Advanced EMT degree as well as earned certification as a Primary

17   Care Paramedic in Canada and has worked in a big-city hospital as an ER Tech.

18           32.     Goggins is widely considered to be among the world’s best ultra-endurance athletes.

19   He has competed in more than 70 endurance races, has placed 3rd at the Badwater 135 Death

20   Valley, considered the world’s toughest foot race, and regularly placing in the top five in other

21   ultramarathons. Until recently, he also held the Guinness World Record for the most pull-ups done

22   in a single day completing 4,030 in 17 hours.

23           33.     Goggins’ physical feats and tough-love message to embrace suffering and discipline

24   have been well-received by the consuming public. As a result, Goggins enjoys a committed

25   audience of millions of people. Long before Goggins ever achieved fame he was practicing his



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 1   own methods to overcome tribulations in his own life. This authenticity and integrity resonate with

 2   his followers and has earned him profound respect. As Goggins’ fame grew, he found purpose in

 3   using his own inner and physical strength to impart strength to others. This led to his decision to

 4   start his businesses, Goggins, LLC and GBNB, and eventually to self-publish his Books.

 5          34.     Goggins remains committed to his core values. He continues to push his mind and

 6   his body to their limits and manages his business to ensure it produces only high-quality products

 7   and content. Because of this internal resolve and authenticity, Goggins has earned goodwill and

 8   reputation associated with his name and brand, both of which he vigilantly protects. Amazon’s

 9   conduct tarnishes both Goggins’ goodwill and reputation.

10                               GOGGINS’ SELF-PUBLISHED BOOKS

11          35.     Goggins is the author of the self-published book Can’t Hurt Me.

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23          36.     Can’t Hurt Me details Goggins’ life story of overcoming his brutally difficult

24   upbringing to become a Navy SEAL, world-renowned endurance athlete, and one of the world’s

25   leading authorities on mental toughness. Can’t Hurt Me became a New York Times bestselling



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 1   book that was featured on global media platforms like the Joe Rogan Experience podcast and has

 2   been on Amazon’s best-selling list for over 200 weeks.

 3          37.     GBNB maintains copyright registration number TX0008752122 to Can’t Hurt Me.

 4   To date, Can’t Hurt Me has sold millions of copies in multiple languages and is currently available

 5   in hardcover, paperback, audiobook, and Kindle formats. There is also a clean version available in

 6   paperback and eBook.

 7          38.     New, unsigned, hard-cover copies of Can’t Hurt Me have been exclusively sold on

 8   Amazon.com, Amazon.ca, and Amazon.co.uk, and now only Amazon.com, through the Amazon

 9   Advantage program. The paperback version of the book is printed through the Kindle Direct

10   Publishing service and a third-party provider.

11          39.     Goggins is the author of the self-published book Never Finished.

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23          40.     Never Finished takes a reader inside Goggins’ “Mental Lab” where he developed

24   the philosophy, psychology, and strategies that enabled him to learn that what he thought was his

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 1   limit was only his beginning and that the quest for greatness is unending. Never Finished hit

 2   number 1 on Amazon’s best-seller list.

 3          41.     GBNB maintains copyright registration number TXu002337826 to Never Finished.

 4   To date, Never Finished has sold over a million copies in multiple languages and is currently

 5   available in hardcover, paperback, audiobook, and Kindle formats.

 6                     AMAZON AND ITS CLAIMS OF TRUSTWORTHINESS

 7          42.     Amazon operates the world’s largest online marketplace on the website

 8   Amazon.com, among others. Amazon regularly holds its websites out as reliable and secure places

 9   to purchase products, including books. Amazon makes specific claims related to its trustworthiness

10   and actions it claims to take to prohibit counterfeit and inauthentic products which are deceptive or

11   have the capacity to deceive. Goggins relied on Amazon’s claims because they gave him

12   confidence that Amazon could be a trusted partner and platform. Consumers rely on these claims

13   when they shop on Amazon’s websites. These claims are also literally or impliedly false.

14          43.     On June 23, 2019, the New York Times published an article titled What Happens

15   After Amazon’s Market Domination Is Complete? Its Bookstore Offers Clues. The article cites

16   publishers, writers, and groups such as the Authors Guild stating that “counterfeiting of books on

17   Amazon has surged.” The article provided examples, including a statement from Pulitzer Prize-

18   winning author Andrew Sean Greer who explained bootleg versions of his novel, Less, were being

19   sold as the real thing. The article reported that a counterfeit edition of Danielle Trussoni’s memoir,

20   Falling Through the Earth, which misspelled her name, was sold on Amazon’s website. The article

21   went on to report the sale of “an illegal paperback” of Florida, Lauren Groff’s book, on

22   Amazon.com. The article included reference to a test buy of a book where 30 of 34 copies

23   purchased were counterfeit.

24          44.     Amazon responded to the New York Times article on June 24, 2019, claiming

25   “Amazon strictly prohibits the sale of counterfeit products.” Amazon also claimed in the statement



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 1   that, “We investigate every claim of potential counterfeit thoroughly….” Amazon, Our response to

 2   the New York Times’ story on book counterfeiting, AboutAmazon.com,

 3   https://www.aboutamazon.com/news/books-and-authors/our-response-to-the-new-york-times-

 4   story-on-book-counterfeiting (June 24, 2019)(Attached hereto as Exhibit 1).

 5          45.     Amazon vaunts the trustworthiness of its marketplace and that it “strictly

 6   prohibit(s)” the sale of counterfeit / inauthentic products on its platforms. Amazon Brand

 7   Protection Report, AboutAmazon.com,

 8   assets.aboutamazon.com/2c/9e/2e907d06477a88c5bc556f95d27c/amazon-brand-protection-report-

 9   3rd-annual.pdf (April, 2023) (Attached hereto as Exhibit 2), at 5.

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14          46.     Amazon operates an associate program that touts an anti-counterfeiting policy that
15   provides the sale of inauthentic products “is strictly prohibited.” The policy continues to state,
16   “When we identify such products we remove these products and take action against the seller that
17   listed the product.” Amazon Anti-Counterfeiting Policy, Amazon Associates, https://affiliate-
18   program.amazon.com/resource-center/amazon-associates-anti-counterfeiting-policy, last visited
19   February 21, 2024 (Attached hereto as Exhibit 3).
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 1          47.     Moreover, Amazon releases a “Brand Protection Report” each year to publicly

 2   masquerade its efforts to prevent counterfeiting. For example, in the most recent Brand Protection

 3   Report (the “2023 BPR”), Amazon posits that a critical part of its mission is ensuring customers

 4   receive an authentic product and that small businesses are free from competition from bad actors.

 5   The report states, “When a customer makes a purchase in our store, they trust they will receive an

 6   authentic product….” Amazon Brand Protection Report (April 2023) (Exhibit 2), at 2.

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13          48.     The 2023 BPR also boasts that Amazon has invested more than $1.2 billion and

14   employed over 15,000 people dedicated to protecting customers, brands, selling partners, and its

15   store from counterfeiting, fraud, and other forms of abuse. Id. at 2.

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            49.     The 2023 BPR vaguely refers to unidentified “advanced technology” that
20
     purportedly allows Amazon to “continuously monitor” its store for potential counterfeit products
21
     and other abuse. Id. at 7. These are the same claims Amazon has made dating back to its June 24,
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     2019 response to the New York Times article.
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 6          50.     Amazon then states the obvious goal of driving “counterfeits to zero” and stopping
 7   such bad actors “for good.” Id. at 3 & 15. These are the same claims Amazon has made dating
 8
     back to its June 24, 2019 response to the New York Times article.
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19          51.     Amazon’s impression of itself based on these apparently Herculean efforts is that it

20   holds the title of “The world’s most trustworthy shopping experience.” Id., at 5.

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            52.     But for thousands of sellers like Goggins, Amazon is all talk. Amazon’s false public
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     persona hurts the consuming public, authors, and brands. The truth must come to light.
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                               AMAZON’S LISTINGS AND ACTIVITIES
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            53.     Amazon operates websites at Amazon.com and other URLs. Amazon originally
16
     started in 1997 as an online bookseller selling direct to consumers from its own inventory, also
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     known as first party sales. Over the years, Amazon has added numerous other products to its online
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     offerings.
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            54.     In approximately 1999, Amazon introduced the concept of “third-party sellers” on
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     Amazon.com. Just like Amazon, third-party sellers sell books and other products to the consuming
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     public. Third-party sellers are seamlessly integrated on the Amazon websites—consumer orders
22
     are made, processed, and paid through Amazon directly. Accordingly, many consumers are
23
     unaware that they are purchasing books and other products from third parties.
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     COMPLAINT - 15                                                                    LAW OFFICES
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 1          55.     Third-party selling has been financially very successful for Amazon. In his 2018

 2   letter to shareholders (dated April 11, 2019), Amazon Chairman and CEO Jeff Bezos stated,

 3   tongue-in-cheek:

 4          “Third-party sellers are kicking our first party butt. Badly.”

 5   Jeff Bezos, 2018 Letter to Shareholders, AboutAmazon.com,

 6   https://www.aboutamazon.com/news/company-news/2018-letter-to

 7   shareholders?utm_source=social&utm_medium=tw&utm_term=amznews&utm_content=2018lette

 8   r&tag=bisafetynet2-20 (April 11, 2019) (Attached hereto as Exhibit 4).

 9          56.     Mr. Bezos had reason to laugh: Amazon was also enjoying significant revenues

10   from these explosive third-party sales. Indeed, third-party sales account for a significant portion of

11   Amazon’s revenues.

12          57.     In its 2019 10-K filed with the U.S. Securities and Exchange Commission, Amazon

13   reported for the years 2017, 2018 and 2019, respectively, approximately $31 billion, $42 billion

14   and $53 billion in net sales from third-party seller services. See

15   https://www.sec.gov/Archives/edgar/data/1018724/000101872420000004/amzn-

16   20191231x10k.htm, last visited February 21, 2024 (Attached hereto as Exhibit 5).

17          58.     In its 2022 10-K, Amazon reported for the years 2020, 2021 and 2022, respectively,

18   approximately $80 billion, $103 billion and $117 billion in net sales from third-party seller

19   services. See https://www.sec.gov/Archives/edgar/data/1018724/000101872423000004/amzn-

20   20221231.htm, last visited February 21, 2024 (Attached hereto as Exhibit 6).

21          59.     Unfortunately for consumers and for legitimate business owners, the explosion of

22   third-party sales on Amazon.com has coincided with rampant counterfeiting on the site.

23          60.     While Amazon experienced explosive third-party sales growth that fueled its

24   bottom line and share price, authors, manufacturers, and the consuming public were left to bear the

25   cost of rampant counterfeiting on Amazon.com without compensation.



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 1            61.     Amazon’s websites offer a seamless integration of first party (Amazon) sales and

 2   third-party sales. The consumer conducts a single search and receives search results for all

 3   products. Amazon controls the search mechanism on the websites, including what products are

 4   listed in the search results. Consumers click on a search result and are brought to a product listing

 5   page.

 6            62.     While authors provide book specifications, descriptions, and certain content to be

 7   included in an Amazon listing, Amazon controls the listings of products on its websites, including

 8   the layout of the website page, the types of materials included, product details, information about

 9   authors, version details, seller information, customer reviews, book descriptions, editorial reviews,

10   and details associated with the book or product. An example of an Amazon product listing is

11   below:

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            63.     Amazon controls other content on the product page, including books or products
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     that are frequently purchased with the product, related products, and similar items. Amazon also
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     includes sponsored listings and advertisements on product listing pages:
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            64.       Amazon controls the search mechanism and listing details related to the search,
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     including the images, the placement of the title, the details regarding the seller, date of publication,
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     customer comments, and version types. An example of a search page result for the Can’t Hurt Me
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     book is below:
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15          65.     Upon information and belief, each product listing, and the information on that

16   listing, is hosted on servers controlled by Amazon. Amazon controls and has the ability to create,

17   edit, or remove any listing on its websites.

18          66.     Amazon provides a wide array of logistic services to third-party sellers, integrating

19   them into its marketplaces and websites. Amazon provides advertising services, payment

20   processing services, shipping services, as well as training to support sellers that sell books and

21   other products on Amazon’s websites.

22          67.     Upon information and belief, Amazon is involved in the creation and publication of

23   the listings that offer third-party products, including the selection and uploading of images and

24   other product information.

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 1           68.     Upon information and belief, Amazon curates, selects, and publishes product

 2   listings (otherwise known as product detail pages) for products that it sells directly and for

 3   products that it assists others in selling.

 4           69.     Upon information and belief, Amazon selects third parties to sell on its websites.

 5           70.     Upon information and belief, Amazon controls or has the ability to control the price

 6   of the products sold on its websites.

 7           71.     Amazon processes payments in connection with the sale of products that it sells and

 8   products sold by third-party sellers.

 9           72.     Amazon controls or has the ability to control customer service related to products

10   Amazon sells, as well as third-party sales, including at least returns and refunds associated with the

11   products.

12           73.     Upon information and belief, Amazon controls or has the ability to control reviews

13   listed in connection with the products listed on its websites.

14           74.     Upon information and belief, Amazon maintains data security services to protect

15   consumers’ personal and payment information on orders placed via Amazon.com and its other

16   websites.

17           75.     Upon information and belief, Amazon provided the aforementioned services and

18   exercised control over the sale of third-party sellers who sold bootleg versions of the Books and

19   other infringing products.

20      SALES OF BOOTLEG VERSIONS OF GOGGINS’ SELF-PUBLISHED BOOKS AND
                               OTHER PRODUCTS
21

22           76.     GBNB has made Can’t Hurt Me and Never Finished available on Amazon.com and

23   other Amazon websites.

24           77.     Millions of authentic copies of the Books have been sold via Amazon’s websites.

25   Bootleg copies, however, have been sold on the same sites.




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 1           78.     Plaintiffs first became aware of bootleg versions of the Books in June of 2019.

 2   Rather than controlling the situation when they were first informed of the bootleg versions,

 3   Amazon permitted the rampant infringement to increase over time, directly contrary to Amazon’s

 4   representations on brand protection. Plaintiffs were harmed each time Amazon allowed a listing of

 5   a bootleg on its platforms.

 6           79.     Examples of listings of Can’t Hurt Me on Amazon-controlled websites are shown

 7   below. These are mere examples of the listings and show a sample of how many sellers were

 8   offering books in connection with the Can’t Hurt Me listing on Amazon. Amazon controls the

 9   sellers that can list books.

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19          80.     Amazon also allows users to create new listings on product detail pages that are not

20   related to Plaintiffs’ Books. By way of example, a user created a new listing under ASIN

21   B0CNK915HL in connection with Amazon’s India website. The title was “Cant [sic] Hurt Me.”

22   The publisher was listed as “David Goggins JI”. This fake listing rose to #74 in Books on

23   Amazon’s listing.

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21          81.     The product listing used Plaintiffs’ intellectual property without permission. The

22   listing, which appeared to be the official book listing but was not, was linked to the official

23   audiobook and Kindle versions, creating the illusion that the listing was authentic. Eighteen sellers

24   listed against the fake listing. That listing should not have been approved based on Amazon’s

25   public statements that the sale of counterfeit or inauthentic products is “strictly prohibited.”



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 1   Amazon allowed third parties to use Plaintiffs’ intellectual property to create a listing page on

 2   Amazon’s website and sell bootleg versions of the Books.

 3          82.     Because of Amazon’s failure to use its “advanced technology” to “continuously

 4   monitor” its websites, as it claimed to do, Plaintiffs had to step into the monitoring role and expend

 5   hundreds of thousands of dollars to do so. In the instance related to ASIN B0CNK915HL

 6   discussed above, as with multiple other listings, Plaintiffs monitored the website and located the

 7   fake products. Plaintiffs notified Amazon of the issue. Only after Plaintiffs monitored, located, and

 8   reported the bootleg versions of Can’t Hurt Me did Amazon take any action, if at all. And, to show

 9   Amazon does in fact control the content on its website, Amazon removed the content. That content

10   never should have been actively listed.

11          83.     Bootleg versions of the Books were not just sold as “new,” but also listed as “Used

12   – Like New” on Amazon’s website in connection with the official listing and, upon information

13   and belief, separate product listing pages. As an example, Amazon’s website included offerings

14   from Etenda Mart selling bootleg versions of “Used – Like New” copies of Can’t Hurt Me. Those

15   books were housed in an Amazon warehouse in Las Vegas and shipped from Amazon to buyers.

16   Via a test purchase by Plaintiffs, Amazon shipped a copy of a book titled “Can’t Hurt Me” with a

17   sticker “Used – Like New.”

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18            84.     The “Used – Like New” book was a bootleg version of Can’t Hurt Me. Upon

19   information and belief other books sold as “Used – Like New” were also bootleg versions of the

20   Books.

21            85.     The bootleg version of the Can’t Hurt Me was stored in Amazon’s warehouse.

22   Upon information and belief, bootleg versions of the Books are stored and comingled next to

23   authentic versions of the Books. When Amazon’s supposed “advanced technology” fails to detect

24   fake listings or to prevent bootleg versions of the books from entering its warehouses, Amazon

25   does not “strictly prohibit” the sale of counterfeit or inauthentic products. It allows the creation of



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 1   the listing. It allows consumers to purchase the bootleg versions. It allows those consumers to

 2   think Goggins was behind the poor quality.

 3          86.     Plaintiffs conducted the monitoring for the Etenda Mart bootleg book, not Amazon.

 4   Plaintiffs expended their resources to monitor Amazon’s website, not Amazon. However, Amazon,

 5   in its email back to Plaintiffs’ infringement report claimed “Amazon has zero tolerance for

 6   counterfeit products. As a result, we’ve taken action against the supplier of this product and

 7   removed their ability to supply products for sale in Amazon’s stores.” Etenda Mart and others,

 8   however, were allowed to continue selling.

 9          87.     GBNB’s sales efforts have been stunted by competing sales of bootleg versions of

10   the Books, which often undercut the price of an authentic copy and are offered in languages that

11   authorized copies do not come in.

12          88.     Bootleg books are of inferior quality. For example, photographs below show

13   bootleg versions of Can’t Hurt Me. The bootleg versions are smaller, have the wrong coloring,

14   have incorrect and often broken bindings, are off-center, and are overall substandard products.

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13          89.     Bootleg copies of Never Finished were also sold.
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23          90.     Consumers notice when they receive copies of bootleg versions of the Books.

24   Below is a post from Alfonso Velez related to a bootleg version of Can’t Hurt Me.

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16          91.     When customers receive bootleg books, they receive books that are inferior in

17   quality. They get upset and write negative reviews. Negative reviews tell other customers to not

18   buy the books related to those negative reviews. Numerous negative reviews of Goggins’ Books

19   were posted on Amazon.com. Those negative reviews adversely impacted Goggins and the sales of

20   legitimate Books.

21          92.     In direct contrast to Goggins’ reputation for providing superior products, the

22   bootleg versions of the Books are often of poor quality, including flimsy bindings (i.e., pages fall

23   out), cheap paper, blurred photographs, misaligned text, missing pages, or upside-down pages. For

24   example, a consumer who purchased a bootleg copy of Can’t Hurt Me from Amazon.com posted a

25   review noting that he had not even started reading the book and its binding was already ripped:



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10          93.     Consumers who purchase a bootleg copy of Goggins’ Books from Amazon.com are

11   often disappointed and dissatisfied with its quality. Mistakenly, they direct their ire toward

12   Goggins in the form of negative social media posts and negative reviews left on Goggins’

13   Amazon.com store. Negative consumer opinions often deter other consumers from making similar

14   purchases. As a result, Goggins, and his businesses, suffer the reputational and economic harm

15   caused by the bootleg copies, even though Amazon is the responsible party.

16          94.      In one such review for Can’t Hurt Me, a consumer commented that the purchased

17   book was “Awful quality.” The consumer stated the words did not line up and the cover was not

18   printed straight. But the consumer did not have a legitimate version of Goggins’ book. It was a

19   bootleg. Nevertheless, customers see the reviews and make decisions based on bad reviews. Below

20   is the example described where another customer found the review helpful.

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 1          95.     Upon information and belief, there were hundreds of negative comments published

 2   on Amazon’s websites that complained of quality issues related to the Books. Many of the

 3   complaints, however, related to bootleg versions, not the legitimate versions. Amazon allowed

 4   reviews of the bootleg versions to be posted. Amazon did not remove the reviews despite knowing

 5   they were related to bootleg versions, not legitimate versions. Consumers were able to review and

 6   make their purchasing decisions based on the reviews.

 7          96.     In another example, a purchaser unwittingly purchased a bootleg copy of Can’t Hurt

 8   Me and was so incensed by the terrible quality of the book’s paper, they left a review on the

 9   product listing urging other consumers not to purchase the book. Four people found that review

10   helpful:

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18          97.     Amazon controls the reviews and has the ability to remove reviews at its option. As

19   stated in its retort to the June 24, 2019 New York Times article, “Amazon also invests significant

20   resources to protect the integrity of reviews in our stores because we know customers value the

21   insights and experiences shared by fellow shoppers.” Amazon, Our response to the New York

22   Times’ story on book counterfeiting (June 24, 2019) (Exhibit 1).

23          98.     Amazon allowed the bootlegged versions of the Books to be listed on its websites.

24   Amazon maintained listings associated with bootlegged versions of the Books. Amazon housed

25   and warehoused the bootlegged versions of the Books. Amazon hosted the bootleg product listings.




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 1   Amazon sold or facilitated the sale of the bootlegged versions despite its knowledge of the bootleg

 2   problem. Amazon profited from the sale of the bootlegged versions of the Books. Amazon shipped

 3   the bootlegs to customers who thought they had purchased legitimate books. Amazon profited

 4   from the shipping in at least charging consumers for Prime memberships. Amazon then allowed

 5   consumers of the bootlegged versions to post on Amazon’s websites about the terrible print quality

 6   of the books, which they mistakenly attributed to Goggins.

 7          99.      Many times, Amazon would force Goggins and his team to purchase the bootlegged

 8   versions of the Books before any action would be taken, of which Amazon profited together with

 9   the unauthorized sellers. Even when a bootleg version of one of the Books was removed from

10   Amazon.com, Amazon ignored the larger issue and just removed a single book at a time, knowing

11   there were multiple bootleg versions of the Books listed. Amazon was not using any technology to

12   remedy the real harm—ongoing listings of bootleg versions. Goggins was forced to engage in

13   whack-a-mole efforts even though Amazon had the knowledge of infringement and ability to

14   remove the bootlegged versions of the Books.

15          100.     When bootleg copies of the Books are sold on Amazon.com, the consumer does not

16   get what they expect. That harms the customer and the customer’s feelings towards Goggins (the

17   author) are negatively impacted. Indeed, Goggins’ reputation is damaged because consumers,

18   trusting Amazon’s marketing assertions that it does not sell counterfeit products, believe Amazon

19   would not allow such bootlegs to be sold. Additionally, while the bootleggers and Amazon receive

20   profits, Plaintiffs receive nothing other than bad reviews. Every such sale deprives Plaintiffs of

21   revenue they rightly should receive. Both the customer and Plaintiffs are harmed.

22          101.     Amazon financially benefits from the sale of Goggins’ Books on the Amazon

23   platforms, regardless of whether the sale is a legitimate, authorized sale or the sale is of a bootleg

24   copy. See Jay Greene, How Amazon’s quest for more, cheaper products has resulted in a flea

25   market of fakes, The Washington Post,



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 1   https://www.washingtonpost.com/technology/2019/11/14/how-amazons-quest-more-cheaper-

 2   products-has-resulted-flea-market-fakes (November 14, 2019) (reporting Amazon keeps “a

 3   roughly 15 percent cut” of all third-party sales, whether bootleg or legitimate) (Attached hereto as

 4   Exhibit 7).

 5           102.     As a result, Amazon has outsized economic incentive to allow counterfeiters to

 6   remain on the Amazon platforms, which creates a striking conflict in its purported efforts to police

 7   and stop such parties.

 8           103.     The bootleg issues are not limited to books, but include other products, such as

 9   apparel. Below is an example of a product listing on Amazon’s website for a bootleg version of

10   Plaintiffs’ shirt:

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23           104.     Goggins does not sell his apparel on Amazon. No product other than the Books
24   should appear on Amazon using Plaintiffs’ intellectual property.
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 1           105.     By knowingly permitting the sale of bootleg versions of the Books on Amazon.com

 2   and other Amazon websites, Amazon is directly responsible for allowing consumers to believe that

 3   one or more of Plaintiffs were responsible for the quality issues.

 4           106.     The proliferation of bootlegged versions of the Books caused Goggins and his

 5   businesses to modify their business practices to combat the sales. Instead of dedicating resources to

 6   promoting his Books and developing additional lines of business, which was the original business

 7   plan, Plaintiffs’ resources were redirected to (1) monitor Amazon’s websites for listings of bootleg

 8   versions of the Books and (2) plead with Amazon to remove any such listings. Additionally,

 9   Plaintiffs redirected resources to start a merchandise line to combat the fake items being sold on

10   Amazon.

11
          GOGGINS’ AND OTHERS’ EFFORTS TO COMBAT BOOTLEGS ON AMAZON
12             SHOWS THE FALSITY OF AMAZON’S PUBLIC STATEMENTS

13           107.     Plaintiffs’ experience pleading with Amazon to remove bootleg books from

14   Amazon.com and its other websites is directly contrary to Amazon’s publicly touted statements

15   that it strictly prohibits the sale of bootleg products.

16           108.     Amazon’s 2023 BPR and other marketing efforts lead consumers to believe that

17   Amazon’s counterfeiting crisis is a thing of the past. But Goggins’ own present-day experience

18   demonstrates the falsity of Amazon’s statements and exposes its attempts to mislead the

19   consuming public.

20           109.     GBNB competes with bootleg offerings at lower prices and often offering free

21   shipping on Amazon’s websites.

22           110.     Plaintiffs repeatedly contacted Amazon through its established counterfeit reporting

23   channels and were consistently rebuffed.

24           111.     Due to the ubiquity of bootleg copies of Can’t Hurt Me being sold on Amazon’s

25   international websites, GBNB reluctantly entered very unfavorable agreements with foreign



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 1   publishers, in the hope they would do what Amazon refused—police and reduce rampant

 2   international counterfeiting.

 3          112.     Plaintiffs repeatedly sent Amazon emails detailing the bootlegging problems, but

 4   Amazon made no progress against the infringers.

 5          113.     In fact, Amazon’s inept application of its anti-counterfeiting policies resulted in

 6   removal of Goggins’ own authorized French edition of his book while bootleg versions remained

 7   available for sale on Amazon’s marketplace.

 8          114.     Plaintiffs have spent, and are still spending, countless hours and hundreds of

 9   thousands of dollars seeking Amazon’s assistance in taking down bootleg copies of the Books. For

10   example, Plaintiffs, on numerous occasions, sent emails to Amazon detailing the exact

11   Amazon.com listings of bootleg copies of his Books and the listings were never removed.

12          115.     At every turn, Plaintiffs’ efforts to collaboratively work with Amazon were met

13   with resistance and dismissal by Amazon. Goggins had enough.

14          116.     On October 5, 2023, feeling as if he had no other option, Goggins posted a video

15   (the “Video”) to his 11 million followers on Instagram exposing Amazon’s indifference to the

16   onslaught of bootleg copies of Goggins’ Books being sold on the Amazon platforms. The Video

17   received over 6 million views and thousands of comments.

18          117.     Shortly after the Video was posted, and only after Goggins was forced to take that

19   action, Amazon removed all but Goggins’ legitimate listings from Amazon’s websites, including

20   its international websites. This is a step Amazon could have taken long before. Amazon, however,

21   failed to take the appropriate actions. That extended period of bootleg book sales caused damage to

22   Goggins and his followers and others who purchased bootleg books.

23          118.     Amazon’s reaction to the Video demonstrates it is misleading consumers. Amazon

24   allowed an inexplicable number of bootleg books to be sold via its marketplaces while proudly

25   touting them as trustworthy.



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 1          119.     Goggins is not alone. Amazon’s conduct is contrary to its public statements in

 2   connection with other sellers. Other authors’ books are being bootlegged as well, including

 3   Michelle Obama with her book, Becoming:

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14          120.     The proliferation of bootleg products on Amazon’s websites shows its public

15   statements are false. In a study by Gartner, of 321 brands offered for sale on Amazon.com by third-

16   party merchants, one-third of the products had received at least one review by a customer reporting

17   it as fake goods. Jeff Bercovici, Small Businesses Say Amazon Has a Huge Counterfeiting

18   Problem. This “Shark Tank” Company is Fighting Back, Inc. Magazine,

19   https://www.inc.com/magazine/201904/jeff-bercovici/amazon-fake-copycat-knockoff-products-

20   small-business.html (April 2019) (Attached hereto as Exhibit 8).

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 8           121.     Similarly, in 2018 the U.S. Government Accountability Office test bought 47 items

 9   from several e-commerce purveyors, including Amazon.com, and reported nearly half were

10   bootleg products. Id. Amazon’s 2023 BPR postures as if Amazon’s bootleg epidemic has

11   dramatically improved, but as recently as September of 2023 Amazon had assigned its coveted

12   “Amazon’s Choice” endorsement to bootleg products. Online Shoppers Face Counterfeits and

13   Scams on Amazon, eBay and Walmart, The Counterfeit Report,

14   https://thecounterfeitreport.com/press_release_details.php/?date=2023-09-14&id=995 (September

15   14, 2023) (Attached hereto as Exhibit 9).

16           122.     Wirecutter, the product-review branch of the New York Times, reports major

17   retailers, such as Birkenstock, no longer directly sell on Amazon.com due to the “proliferation of

18   counterfeits” and Amazon’s general “unwillingness to help it fight” against the counterfeiting.

19   Ganda Suthivarakom, Welcome to the Era of Fake Products, New York Times,

20   https://www.nytimes.com/wirecutter/blog/amazon-counterfeit-fake-products (February 11, 2020)

21   (Attached hereto as Exhibit 10). Although some credit Amazon with “trying” to combat

22   counterfeiters, almost all parties agree that Amazon’s efforts are ineffective or at least too

23   insignificant to stunt its infestation of bootleg products. Id.

24           123.     As a result, the burden of combating bootleg products on Amazon is placed on

25   small business owners, an expensive task that can require dozens of hours a month. Jeff Bercovici,



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 1   Small Businesses Say Amazon Has a Huge Counterfeiting Problem. This “Shark Tank” Company

 2   is Fighting Back (April 2019) (Exhibit 8).

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 9          124.     When sellers attempt to leverage Amazon’s vast resources against counterfeiters by

10   filing a report, they often receive useless responses and unreasonably high evidentiary

11   prerequisites. For example, Jon Fawcett, the CEO of Fuse Chicken, details receiving unhelpful

12   “rote responses” to repeated petitions for Amazon to act against counterfeiters, and the requirement

13   that he produce information about the seller that only Amazon possessed. Id.

14          125.     Amazon was willing to profit from and allow the proliferation of bootleg versions

15   of Goggins’ Books until Amazon’s own reputation was put at risk. Despite being handed multiple

16   examples of bootleggers selling on Amazon’s websites from Goggins, Amazon failed to take the

17   appropriate action. Amazon continued to allow the bootleg versions of the Books to be sold.

18          126.     As a result of these bootleg sales on Amazon’s websites, Goggins’ reputation and

19   brand have been permanently damaged.

20          127.     Amazon’s headlines, marketing, and public statements have been false and

21   misleading.

22          128.     Plaintiffs have suffered economic damage from bootleg sales on Amazon’s websites

23   in the form of lost profits, lost opportunities, and enforcement and legal costs.

24          129.     Defendant has obtained profits from the bootleg sales of Goggins’ Books on

25   Amazon’s websites that, in fairness, it does not deserve.



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 1          130.     Despite Goggins’ earnest attempts to preemptively work with Amazon, the same

 2   enforcement issues are now occurring with Goggins’ second book, Never Finished, which further

 3   compounds the harm to Goggins’ brand and reputation and increases his lost profits.

 4          131.     Before Never Finished was released, Goggins proactively reached out to Amazon to

 5   inquire what could be done to prevent the ongoing issues with Can’t Hurt Me. Goggins wanted to

 6   proactively work with Amazon to prevent the same issues of bootleg versions and non-authorized

 7   sellers. Even though Goggins was a world-renowned author in December of 2022 when Never

 8   Finished debuted and despite Goggins’ pleading with Amazon to remove bootlegged versions,

 9   Amazon chose to take no action. Bootleg versions of Never Finished again hit Amazon.com and

10   Amazon’s international sites.

11          132.     Goggins and his team tried to rectify the infringement on Amazon.com only to be

12   met with resistance from the company, Amazon, who claims to have the world’s most trustworthy

13   shopping experience, who claims to strictly prohibit the sale of counterfeit and inauthentic

14   products, and who claims that customers can trust that they will receive an authentic product when

15   they shop on Amazon. Those claims were not true to Goggins and his customers and are not true

16   for other sellers, authors, and customers of other products.

17
        COUNT I: INFRINGEMENT OF PERSONALITY RIGHTS IN VIOLATION OF
18     WASHINGTON’S PERSONALITY RIGHTS ACT (“PRA”), RCW § 63.60.010 ET SEQ.

19          133.     Goggins incorporates preceding paragraphs 1-132 as if fully set forth herein.

20          134.     David Goggins is an individual.

21          135.     David Goggins is alive and not otherwise deceased.

22          136.     Amazon has sold bootleg copies of Goggins Built Not Born, LLC’s books,

23   summaries of those books, foreign translations of those books, biographies using Goggins’

24   imagery, apparel, and other products (“Infringing Products”), that include Goggins’ name,

25   photograph, and likeness.



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 1           137.     Amazon’s use of at least Goggins’ name, photograph, and likeness on the sale of

 2   Infringing Products is without Goggins’ express or implied consent.

 3           138.     In the sale of Infringing Products, Amazon has used at least Goggins’ name,

 4   photograph, and likeness in the sale of goods, merchandise, or products entered into commerce in

 5   this state.

 6           139.     The use of at least Goggins’ name, photograph, and likeness on the sale of

 7   Infringing Products serves no function but to exploit Goggins.

 8           140.     Goggins has been damaged by Amazon’s use of at least Goggins’ name,

 9   photograph, and likeness on the sale of Infringing Products, including harm done to his reputation

10   of excellence by inferior quality products.

11
                                      COUNT II: FALSE ADVERTISING
12                                        15 U.S.C. § 1051 et seq.

13           141.     Plaintiffs incorporate preceding paragraphs 1-140 as if fully set forth herein.

14           142.     Dharmesh Mehta, Amazon’s Vice President of Worldwide Selling Partner Services,

15   and a spokesperson for Amazon, made statements that are literally false or impliedly false in

16   Amazon’s Brand Protection Report published in April 2023.

17           143.     Mehta stated:

18          When a customer makes a purchase in our store, they trust they will receive an
            authentic product, whether the item is sold by Amazon Retail or by one of our millions
19          of independent selling partners. And when small businesses choose to sell in our store,
            they trust we will provide a great selling experience free from competition with bad
20
            actors.
21
     Amazon Brand Protection Report (April 2023) (Exhibit 2), at 2.
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 8           144.     Amazon’s statements were made in interstate commerce.

 9           145.     Mehta’s statement that Amazon is “[t]he world’s most trustworthy shopping

10   experience” is literally false or impliedly false.

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19   Amazon Brand Protection Report (April 2023) (Exhibit 2), at 5.

20           146.     Mehta’s statement that Amazon “continuously monitor[s] our store for potential

21   infringement . . . [and] use[s] the data and learnings gathered throughout these processes to

22   innovate and improve our proactive protections” is literally false or impliedly false.

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 6   Amazon Brand Protection Report (April 2023) (Exhibit 2), at 7.

 7           147.     Mehta’s statement that Amazon “will continue to invest and innovate until we drive

 8   counterfeits to zero in our store” is literally false or impliedly false.

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14   Amazon Brand Protection Report (April 2023) (Exhibit 2), at 3.

15           148.     Mehta’s statement that Amazon “act[s] quickly to protect customers and brands,

16   including the problematic content or listing and, where appropriate, blocking accounts,

17   withholding funds, and referring bad actors to law enforcement” is literally false or impliedly false.

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23   Amazon Brand Protection Report (April 2023) (Exhibit 2), at 15.

24           149.     Mehta’s statement that when Amazon “find[s] a counterfeit, [it] go[es] beyond [its]

25   store, going upstream to identify the warehouses and distribution network involved in the



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 1   counterfeit production so [it] can prevent the counterfeit products from re-entering the supply

 2   chain” is literally false or impliedly false.

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 7   Amazon Brand Protection Report (April 2023) (Exhibit 2), at 16.
 8           150.     Amazon’s Brand Protection Report, including the comments by Dharmesh Mehta,
 9   Amazon’s Vice President of Worldwide Selling Partner Services, constitutes commercial speech as
10   the speech does no more that propose a commercial transaction.
11           151.     By virtue of Amazon’s unauthorized sales of Infringing Products, promotion of
12   those products, and related activities to sell those products via Amazon.com and other Amazon
13   websites, Plaintiffs—through their authorized sales—is in competition with Amazon.
14           152.     Amazon’s Brand Protection Report, including the comments by Dharmesh Mehta,
15   Amazon’s Vice President of Worldwide Selling Partner Services, is designed for the purpose of
16   influencing Amazon’s customers to trust Amazon’s procedures and to buy Amazon’s products
17   believing them to be authentic.
18           153.     Amazon’s Brand Protection Report, including the comments by Dharmesh Mehta,
19   Amazon’s Vice President of Worldwide Selling Partner Services, is publicly available and
20   searchable and is sufficiently disseminated to the relevant purchasing public, namely Amazon
21   platform customers.
22           154.     Plaintiffs have been damaged by Amazon’s false advertising as Amazon’s literally
23   false or impliedly false statements have caused customers to purchase Infringing Products
24   believing them to be authentic, instead of buying authorized products from Plaintiffs.
25           155.     Plaintiffs are entitled to compensatory damages.



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 1                              COUNT III: TORTIOUS INTERFERENCE

 2          156.     Plaintiffs incorporate preceding paragraphs 1-155 as if fully set forth herein.

 3          157.     Amazon’s continuous sales of unauthorized bootleg copies of GBNG’s books Can’t

 4   Hurt Me and Never Finished impedes on and threatens Plaintiffs’ ability to enter into foreign rights

 5   deals and other contractual terms with publishers, or to negotiate deals with publishers based on

 6   the unauthorized sales.

 7          158.     GBNG was forced to enter into agreements with unfavorable terms to combat

 8   Amazon’s sales of unauthorized books in foreign markets. Amazon’s conduct impeded on

 9   GBNG’s business expectancy related to those foreign markets as well as multiple other product

10   and service deals.

11          159.     GBNG has valid contractual agreements with 28 foreign publishers for Can’t Hurt

12   Me and 9 foreign publishers for Never Finished regarding foreign and other platform publication

13   and distribution of GBNG’s books Can’t Hurt Me and Never Finished.

14          160.     Amazon had knowledge of the same or similar relationships through its

15   correspondence with Plaintiffs and their representatives.

16          161.     Amazon’s bootleg sales of foreign language versions of Can’t Hurt Me and Never

17   Finished intentionally interfere with Plaintiffs’ expectancy to enter into contracts with third parties

18   as well as GBNG’s contractual relationship(s), causing a breach of the relationship or expectancy.

19          162.     Amazon interfered by the improper means of bootleg sales of the books Can’t Hurt

20   Me and Never Finished.

21          163.     Amazon’s unauthorized bootleg sales of the books Can’t Hurt Me and Never

22   Finished have caused damage to Plaintiffs by adversely impacting Plaintiffs’ ability to negotiate

23   terms of agreements related to products and in connection with foreign language deals.

24          164.     Amazon has tortiously interfered with a contractual relationship or business

25   expectancy of Plaintiffs and has caused Plaintiffs financial harm.



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 1           165.     Plaintiffs are entitled to compensatory damages.

 2                                  COUNT IV: UNJUST ENRICHMENT

 3           166.     Plaintiffs incorporate preceding paragraphs 1-165 as if fully set forth herein.

 4           167.     Amazon sold and profited from the sale of bootleg copies of Can’t Hurt Me and

 5   Never Finished as well as other products that contain Plaintiffs’ intellectual property.

 6           168.     Defendant received payments for and profited from the unauthorized sales of

 7   bootleg copies of Can’t Hurt Me and Never Finished as well as other products that contain

 8   Plaintiffs’ intellectual property.

 9           169.     Plaintiffs did not receive payments for or profit from the unauthorized sales of

10   bootleg copies of Can’t Hurt Me and Never Finished as well as other products that contain

11   Plaintiffs’ intellectual property.

12           170.     Plaintiffs did not benefit from the sale of bootleg copies of Can’t Hurt Me and

13   Never Finished as well as other products that contain Plaintiffs’ intellectual property.

14           171.     Because of Plaintiffs’ repeated reports to Amazon regarding the existence of

15   bootleg copies of Can’t Hurt Me and Never Finished as well as other products that contain

16   Plaintiffs’ intellectual property available for sale on Amazon’s platform and the existence of

17   bootleg sales, Defendant appreciated or knew of the benefit it received as a result of the

18   unauthorized sales of bootleg copies of Can’t Hurt Me and Never Finished as well as other

19   products that contain Plaintiffs’ intellectual property.

20           172.     Defendant did not pay Plaintiffs for the unauthorized sales of bootleg copies of

21   Can’t Hurt Me and Never Finished as well as other products that contain Plaintiffs’ intellectual

22   property

23           173.     Defendant retained the revenues and profits from the unauthorized sales of bootleg

24   copies of Can’t Hurt Me and Never Finished as well as other products that contain Plaintiffs’

25   intellectual property.



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 1           174.     The circumstances of the unauthorized sales make it inequitable for Defendant to

 2   retain the revenues and profits without payment to Plaintiffs.

 3           175.     Defendant has been unjustly enriched by the unauthorized sales of Can’t Hurt Me

 4   and Never Finished as well as other products that contain Plaintiffs’ intellectual property.

 5           176.     Defendant is to be disgorged of any benefit they received from the unauthorized

 6   bootleg sales of Can’t Hurt Me and Never Finished as well as other products that contain

 7   Plaintiffs’ intellectual property.

 8
                      COUNT V: CONTRIBUTORY COPYRIGHT INFRINGEMENT
 9                                   17 U.S.C. § 501, et seq

10           177.     Plaintiffs incorporates preceding paragraphs 1-176 as if fully set forth herein.

11           178.     GBNB maintains federal copyright registrations for Can’t Hurt Me: Master Your

12   Mind and Defy the Odds and Never Finished: Unshackle Your Mind and Win the War Within:

13                          Work Title                 Registration No.      Registration Date
14                  Can’t Hurt Me: Master Your       TX0008752122            2019-06-07
                    Mind and Defy The Odds.
15
                    Never Finished: Unshackle        TXu002337826            2022-09-14
16                  Your Mind and Win the War
                    Within.
17

18           179.     Third-party individuals and entities have copied, reproduced, prepared derivative

19   works, and distributed GBNB’s registered copyrighted works without GBNB’s authorization.

20           180.     Third-party individuals and entities have copied, reproduced, prepared derivative

21   works, sold, and distributed GBNB’s registered copyrighted works through Amazon’s stores with

22   Amazon’s knowledge of the unauthorized sales.

23           181.     Amazon knew of the infringement of GBNB’s copyrighted works through at least

24   being placed on actual notice of the infringement.

25



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 1            182.     Amazon has knowingly and unlawfully allowed, enabled, facilitated, or otherwise

 2   contributed to the infringement by the third-party individuals and entities.

 3            183.     Amazon has knowingly and willfully caused, participated in, materially contributed

 4   to, induced, and derived economic benefit from the infringement of GBNB’s copyright interests.

 5            184.     The acts of Amazon have caused, and will continue to cause, damage to GBNB in

 6   an amount to be determined at trial. At a minimum, GBNB is entitled to its actual damages and

 7   disgorgement of the profits of Amazon, or statutory damages under 17 U.S.C. § 504.

 8            185.     GBNB is entitled to recover its costs and reasonable attorneys’ fees under 17 U.S.C.

 9   § 505.

10                       COUNT VI: VICARIOUS COPYRIGHT INFRINGEMENT
                                       17 U.S.C. § 501, et seq.
11

12            186.     Plaintiffs incorporate preceding paragraphs 1-185 as if fully set forth herein.

13            187.     Third-party individuals and entities have copied, reproduced, prepared derivative

14   works, and distributed GBNB’s registered copyrighted works without GBNB’s authorization.

15            188.     Amazon receives a direct financial benefit from third parties who copy, reproduce,

16   prepare derivative works, sell, or distribute GBNB’s registered copyrighted works on the

17   Amazon.com website and other of its websites, including the sale of copies of the Books.

18            189.     Amazon receives a direct financial benefit through the marketing and promotion of

19   the infringing copies of the Books that draw customers and sales, which result in profits to

20   Amazon.

21            190.     Amazon has the right and ability to supervise and control the infringing activity of

22   the third-party individuals and entities that sell infringing copies of the Books through Amazon’s

23   websites through at least the exercise of substantial control over the third-party vendors, the

24   products displayed and sold, and the marketing and advertising of the products sold on Amazon’s

25   websites.



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 1            191.     Amazon failed to timely exercise its right and ability to supervise or control the

 2   infringing activity associated with the promotion and sale of infringing copies of the Books on

 3   Amazon’s websites.

 4            192.     Amazon had and has the ability to immediately stop or limit the infringing activity

 5   occurring on its websites.

 6            193.     Amazon failed to timely stop or limit the infringing activity of infringing copies of

 7   the Books occurring on its websites.

 8            194.     Amazon is vicariously liable for the infringement by the third-party individuals and

 9   entities.

10            195.     GBNB has been damaged by, and Amazon has profited and materially benefited

11   from, the direct infringement of GBNB’s copyrighted Books.

12            196.     The acts of Amazon have caused, and will continue to cause, damage to GBNB in

13   an amount to be determined at trial. At a minimum, GBNB is entitled to its actual damages and

14   disgorgement of the profits of Amazon, or statutory damages under 17 U.S.C. § 504.

15            197.     GBNB is entitled to recover its costs and reasonable attorneys’ fees under 17 U.S.C.

16   § 505.

17
     COUNT VII: VIOLATION OF WASHINGTON CONSUMER PROTECTION ACT (RCW
18                             19.86.010 ET SEQ.)

19            198.     Plaintiffs incorporate preceding paragraphs 1-197 as if fully set forth herein.

20            199.     Amazon made statements that are deceptive or have the capacity to deceive.

21            200.     Amazon’s statements were literally false or impliedly false.

22            201.     Amazon’s statements constitute commercial speech.

23            202.     By virtue of Amazon’s unauthorized sales of bootleg copies of Can’t Hurt Me and

24   Never Finished as well as other products that contain Plaintiffs’ intellectual property, Goggins—

25   through his authorized sales—is in competition with Amazon.



     COMPLAINT - 52                                                                        LAW OFFICES
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 1          203.     Amazon’s statements are designed for the purpose of influencing Amazon’s

 2   customers to trust Amazon’s procedures and to buy Amazon’s products believing them to be

 3   authentic.

 4          204.     Amazon’s statements are publicly available and searchable and are sufficiently

 5   disseminated to the relevant purchasing public, namely Amazon platform customers.

 6          205.     Amazon’s literally false or impliedly false statements constitute an unfair or

 7   deceptive act designed to influence purchasing.

 8          206.     Amazon’s unauthorized creation of listings related to bootleg copies of Can’t Hurt

 9   Me and Never Finished as well as other products that contain Plaintiffs’ intellectual property,

10   hosting of the listings, and promotion of the listings constitute an unfair or deceptive act designed

11   to influence purchasing.

12          207.     Amazon’s literally false or impliedly false statements occur in trade or commerce.

13          208.     Amazon’s unauthorized sales of bootleg copies of Can’t Hurt Me and Never

14   Finished as well as other products that contain Plaintiffs’ intellectual property occur in trade or

15   commerce.

16          209.     Amazon’s literally false or impliedly false statements impact the public interest,

17   including deceiving customers and willing purchasers of Can’t Hurt Me and Never Finished as

18   well as other products that contain Plaintiffs’ intellectual property.

19          210.     Amazon’s unauthorized sales of bootleg copies of Can’t Hurt Me and Never

20   Finished as well as other products that contain Plaintiffs’ intellectual property impact the public

21   interest, including deceiving customers and willing purchasers of Can’t Hurt Me and Never

22   Finished as well as other products that contain Plaintiffs’ intellectual property.

23          211.     Amazon knowingly continued to make false or impliedly false statements even after

24   Plaintiffs informed Amazon that unauthorized bootleg copies of Can’t Hurt Me and Never

25   Finished as well as other products that contain Plaintiffs’ intellectual property were being sold.



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 1          212.     Plaintiffs have been damaged by Amazon’s literally false or impliedly false

 2   statements, including by lost sales and harm to reputation.

 3          213.     Plaintiffs have been damaged by Amazon’s unauthorized sales of bootleg copies of

 4   Can’t Hurt Me and Never Finished as well as other products that contain Plaintiffs’ intellectual

 5   property, including by lost sales and harm to reputation.

 6          214.     Plaintiffs are entitled to compensatory damages and all other relief available.

 7                                         PRAYER FOR RELIEF

 8          WHEREFORE, based on the foregoing allegations and claims, Plaintiffs David Goggins,

 9   Goggins Built Not Born, LLC, and Goggins, LLC request the following relief against Defendant

10   Amazon.com, Inc.:

11          1. An award to Plaintiffs of compensatory damages, including but not limited to damages

12              for damage to reputation, lost sales, unjust enrichment, and compensation for

13              enforcement efforts, and other reasonable compensation, in an amount to be

14              determined;

15          2. An award to Goggins Built Not Born, LLC of actual damages and any additional profits

16              of Defendant or statutory damages;

17          3. An award to Plaintiffs disgorging any revenues, profits, and benefits Defendant unjustly

18              received and awarding them to Plaintiffs;

19          4. A constructive trust on Amazon in favor of Plaintiffs on all unjust revenues, profits, and

20              benefits;

21          5. An accounting to Plaintiffs by Amazon for all unjust revenue, profits, and benefits;

22          6. An order causing Amazon to destroy all unauthorized bootleg copies of Goggins Built

23              Not Born, LLC’s books Can’t Hurt Me: Master Your Mind and Defy the Odds and

24              Never Finished: Unshackle Your Mind and Win the War Within;

25          7. An order causing Amazon to destroy all unauthorized copies of books and other



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 1            products containing Plaintiffs’ intellectual property;

 2         8. An award to Plaintiffs of pre- and post-judgment interest, costs and expenses,

 3            disbursements, exemplary damages, and attorneys’ fees in this action, in an amount to

 4            be determined; and

 5         9. An award to Plaintiffs of such other and further relief as the Court seems just and

 6            equitable.

 7         Plaintiffs hereby demand a trial by jury of all issues so triable.

 8

 9         SUBMITTED this 23rd day of February, 2024.

10                                                  HARRIGAN LEYH FARMER & THOMSEN LLP

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